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                                UNITED STATES COURT OF APPEALS
                                     FOR THE FIRST CIRCUIT

      _________________________________________
                                                )
      PEDRO LOPEZ, et al.                       )
                                                )                   Case No. 14-1952
                        Plaintiffs-Appellants,  )
                                                )
            v.                                  )
                                                )
      CITY OF LAWRENCE, et al.,                 )
                                                )
                        Defendants-Appellees    )
      _________________________________________ )

          MOTION TO FILE THREE-PAGE REPLY TO DEFENDANTS’ “RESPONSE TO
           CITATION OF SUPPLEMENTAL AUTHORITIES” AND IN LIGHT OF THE
               DISTRICT COURT’S DECISION IN SMITH v. CITY OF BOSTON

             Plaintiffs, by their counsel, hereby file this motion requesting permission to file a reply,

      limited to three pages, to address arguments recently made in defendants’ “response to citation of

      supplemental authorities” filed on December 4, 2015, and to address the significance of the

      District Court’s decision in Smith v. City of Boston, No. 12-10291-WGY, 2015 WL 7194554

      (D. Mass. Nov. 16, 2015) to this case. In support of this motion, plaintiffs’ counsel states as

      follows:

         1. The decision in Smith v. City of Boston involves the same 2008 police promotional

             process at issue in this case, and all of the test questions in Lopez are the same questions

             used in Smith.

         2. In their response to the plaintiffs’ notice of supplemental authority providing this court

             with the Smith decision, defendants have made a number of new arguments to which

             plaintiffs have not had a chance to respond.
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         3. Because the Smith case and the Lopez case involve the virtually identical exam, and the

             identical legal issues, plaintiffs believe that it is appropriate to permit them to file a reply,

             of no more than three pages, to address the significance of this decision to the current

             appeal.



                                                     Respectfully submitted,
                                                     PEDRO LOPEZ, et al.
                                                     By their attorneys,


                                                     /s/ Harold Lichten
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      DATED: December 11, 2015




                                       CERTIFICATE OF SERVICE

             I hereby certify that, on December 11, 2015, I caused a true copy of this document to be

      sent via the court’s CM/ECF system to all counsel of record.

                                                     _/s/ Harold L. Lichten _______
                                                     Harold L. Lichten, Esq.



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